  8:10-cr-00036-JFB-TDT            Doc # 23   Filed: 06/30/10   Page 1 of 1 - Page ID # 68




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                           )
                                                    )
                      Plaintiff,                    )            8:10CR36
                                                    )
       vs.                                          )             ORDER
                                                    )
JUMANA N. BAKHIT,                                   )
                                                    )
                      Defendant.                    )



       This matter is before the court on the motion of defendant Jumana N. Bakhit (Bakhit)
for a reconsideration of the court’s denial of Bakhit’s motion to amend the conditions of her
release as it relates to travel to the W est Bank in Israel (Filing No. 22). After reviewing the
Pretrial Services report, the charges against Bakhit, and Bakhit’s motion for reconsideration,
the motion for reconsideration (Filing No. 22) is denied.


       IT IS SO ORDERED.


       DATED this 30th day of June, 2010.


                                                    BY THE COURT:


                                                    s/ Thomas D. Thalken
                                                    United States Magistrate Judge
